






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00226-CR







Justin Lee Edwards, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT


NO. 05-158-K277, HONORABLE KEN ANDERSON, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



A jury found appellant Justin Lee Edwards guilty of aggravated sexual assault of a
child.  See Tex. Penal Code Ann. § 22.021 (West Supp. 2006).  The jury assessed punishment,
enhanced by a previous conviction for indecency with a child, at life imprisonment.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573
S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  Appellant received a copy of counsel's brief and the appellate record and
filed a pro se brief.

We have reviewed the record, counsel's brief, and the pro se brief.  We find nothing
in the record that might arguably support the appeal.  See Bledsoe v. State, 178 S.W.3d 824, 826-27
(Tex. Crim. App. 2005).

The judgment of conviction is affirmed.




				___________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Affirmed

Filed:   January 19, 2007

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